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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                           CIVIL MINUTES – GENERAL

Case No.: 2:21-00303 DSF (ADS)                                 Date: April 27, 2021_
Title: Meagan Claudia Robles v. Commissioner, SSA                     _________


Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


              Kristee Hopkins                                None Reported
               Deputy Clerk                             Court Reporter / Recorder

    Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
              None Present                                    None Present

Proceedings:          (IN CHAMBERS) ORDER TO SHOW CAUSE WHY CASE
                      SHOULD NOT BE DISMISSED FOR FAILURE TO
                      PROSECUTE AND COMPLY WITH COURT ORDERS

       Plaintiff, Meagan Claudia Robles (“Plaintiff”), appearing pro se, filed a Civil
Rights Complaint under 42 U.S.C. § 1983 (“Section 1983”) against named Defendant,
Commissioner, SSA [Social Security Administration]. [Docket “Dkt.” No. 2]. Plaintiff
alleges Defendant improperly denied her application for social security disability
benefits and services. Plaintiff also filed a Request to Proceed In Forma Pauperis with
Declaration in Support. [Dkt. No. 3].

       On April 1, 2021, the Court dismissed the Complaint with leave to amend and
granted Plaintiff leave to file a First Amended Complaint by no later than April 22, 2021.
[Dkt. No. 7]. As of the date of this order, the Court has not received a First Amended
Complaint or any response to the Order Dismissing with Leave to Amend from Plaintiff.

        Plaintiff is hereby ORDERED TO SHOW CAUSE why this case should not
be dismissed for failure to prosecute, obey court orders and/or failure to
state a claim upon which relief can be granted. Plaintiff must file a written
response by no later than May 11, 2021. Plaintiff may respond to this Order to
Show Cause by (a) filing a First Amended Complaint; (b) filing a statement with the
Court indicating the desire to continue to move forward with the Complaint despite the
failure to state any claim and other deficiencies noted by the Court in the Order
Dismissing Complaint with Leave to Amend; or (c) file a request to voluntarily dismiss
pursuant to Federal Rule of Civil Procedure 41(a)(2).


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      Plaintiff is expressly warned that failure to timely file a response to this Order to
Show Cause may result in a recommendation to the District Judge that this action be
dismissed with prejudice for failure to state a claim, failure to prosecute and/or obey
Court orders pursuant to Federal Rule of Civil Procedure 41(b).

       IT IS SO ORDERED.




                                                                Initials of Clerk kh




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